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            UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

ROSEMARY MCCOY, and
SHEILA SINGLETON,

      Plaintiffs,

v.                                        Case No. 4:19cv304-MW/GRJ

RONALD DESANTIS, ET AL.,

      Defendants.
______________________________/

               ORDER CONSOLIDATING REASSIGNED
                  CASE WITH COMMON DOCKET

      On Monday, Plaintiffs filed a lawsuit, Case No. 4:19cv304, that

challenges portions of S.B. 7066. The matter was randomly assigned to Judge

Robert Hinkle. Judge Hinkle has reassigned that case to the undersigned in

the interests of judicial economy and in accordance with this Court’s standard

procedure in closely related matters. See ECF No. 3. The reassigned case shall

be consolidated with 4:19cv300, which consists of three cases this Court

consolidated by separate order on Sunday.

      Accordingly,

      IT IS ORDERED:

      1. The Clerk is directed to take all necessary steps to consolidate Case

         No. 4:19cv304 with Case No. 4:19cv300, the common docket, for the

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   purposes of case management. The Clerk is directed to connect all

   lawyers from the consolidated case to Case No. 4:19cv300. A paper

   that is applicable to the consolidated case must be filed in the common

   docket and must not be filed separately.

2. The Clerk is directed to notify counsel in 4:19cv304 of the telephonic

   status hearing currently scheduled for July 5, 2019.

SO ORDERED on July 2, 2019.
                              s/Mark E. Walker               ____
                              Chief United States District Judge




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